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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,                             )
                                                       )
                   Plaintiff,                          )
                                                       )
        v.                                             )      CRIMINAL NO. 06-30068-WDS
                                                       )
 GIGIMAN HAMILTON and                                  )
 ROHAN G. HERON,                                       )
                                                       )
                Defendants.                            )


                                             ORDER

 STIEHL, District Judge:

        Before the Court are defendant Heron’s motion to continue (Doc. 65) the scheduled

 hearing on his motion to suppress evidence (Doc. 32). Also before the Court is defendant

 Hamilton’s motion to withdraw his motion to suppress (Doc. 66). Both of the motions are based

 on the fact that the defendants are in the process of attempting to resolve the case with the

 government.

        Upon review of the record, the Court GRANTS defendant Hamilton’s motion to

 withdraw and defendant Hamilton’s motion to suppress (Doc. 32) is DENIED as moot.

        Pursuant to 18 U.S.C. § 3161(h)(8)(A) the Court FINDS that it is appropriate to continue

 the suppression hearing on defendant Heron’s motion to allow the parties additional time to

 complete the plea negotiations. The Court FURTHER FINDS that the defendant’s counsel has

 exercised due diligence in preparing for trial but that additional time is reasonable and necessary

 to allow defense counsel to pursue the possibility of plea negotiations. The Court FURTHER

 FINDS that failure to grant a continuance in this matter would deny counsel for the defendant
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 reasonable time necessary to prepare for trial, and that the end of justice would be best served by

 granting the continuance. 18 U.S.C. § 3161(h)(8)(B)(iv).

        Accordingly, the Court GRANTS defendant Heron’s motion to continue. This matter is

 rescheduled for a hearing on the defendant’s motion to suppress on Monday, December 11,

 2006, at 1:30 P.M. All time between the filing of this motion and the new hearing date shall be

 excluded for speedy trial purposes.

        Also before the Court is the government's motion for additional time to respond to

 defendant Heron's motion to sever (Doc. 67). In light of the current plea negotiations, the Court

 GRANTS the government's motion. The government's response to the motion to sever shall be

 filed by Friday, December 8, 2006.

        IT IS SO ORDERED.

        DATED: November 6, 2006.



                                                      s/ WILLIAM D. STIEHL
                                                          DISTRICT JUDGE
